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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

  CESAR MARTINEZ-RODRIGUEZ;
  DALIA PADILLA-LOPEZ; MAYRA                  Case No. 1:17-cv-0001-DCN
  MUNOZ-LARA; BRENDA
  GASTELUM-SIERRA; LESLIE ORTIZ-              JUDGMENT
  GARCIA; and RICARDO NERI-
  CAMACHO,


        Plaintiffs,

            v.

  CURTIS GILES, an individual; DAVID
  FUNK, an individual; FUNK DAIRY,
  INC., an Idaho corporation; SHOESOLE
  FARMS, INC., an Idaho corporation,
  JOHN DOES 1-10,

        Defendants.



      In accordance with the Memorandum Decision and Order entered concurrently

herewith,

      NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED that judgment be entered in favor of Defendants, and this case closed.


                                             DATED: May 20, 2019


                                             _________________________
                                             David C. Nye
                                             Chief U.S. District Court Judge


JUDGMENT - 1
